                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012-14
v.                                            )   Judge Sharp
                                              )
DEMETRIUS DUNCAN                              )
                                              )


                                         ORDER

      Pending before the Court is Defendant’s Motion to Change Location of Pretrial Confinement

(Docket No. 1287) to which the Government has responded (Docket No. 1308).

      A hearing on the motion is hereby scheduled for Friday, January 11, 2013, at 3:30 p.m.

      IT IS SO ORDERED.



                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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